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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION

 RUTH MACHNAI,

         Plaintiff,                                           CASE NO. 1: 14-cv-22382

 v.

 GC SERVICES, LP,

       Defendant.
 _____________________________________/

                                PLAINTIFF’S VERIFIED COMPLAINT

        COMES NOW the Plaintiff, RUTH MACHNAI (“Plaintiff”), by and through her

 attorneys, KROHN & MOSS, LTD., and for Plaintiff’s Complaint against Defendant, GC

 SERVICES, LP (“Defendant”), alleges and affirmatively states as follows:

                                        INTRODUCTION
         1.      Count I of Plaintiff’s Complaint is based on the Fair Debt Collection Practices

 Act, 15 U.S.C. 1692 et seq. (FDCPA).

                                   JURISDICTION AND VENUE
         2.      Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that

 such actions may be brought and heard before “any appropriate United States district court

 without regard to the amount in controversy.”

         3.      Because Defendant conducts business in the State of Florida, personal

 jurisdiction is established.

         4.      Venue is proper pursuant to 28 U.S.C. 1391(b)(2).




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                                              PARTIES
        5.      Plaintiff is a natural person who resides in Miami, Miami-Dade County, Florida

 and is obligated or allegedly obligated to pay a debt and is a “consumer” as that term is defined

 by 15 U.S.C. 1692a(3).

        6.      Plaintiffs are informed, believe, and thereon allege, that Defendant is a national

 debt collection company with a business office in Houston, Texas.

        7.      Defendant acted through its agents, employees, officers, members, directors,

 heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

        8.      Plaintiff is informed, believes, and thereon alleges, that Defendant uses

 instrumentalities of interstate commerce or the mails in any business the principal purpose of

 which is the collection of any debts, or who regularly collects or attempts to collect, directly or

 indirectly, debts owed or due or asserted to be owed or due another and is a "debt collector" as

 that term is defined by 15 U.S.C. § 1692a(6).

                                   FACTUAL ALLEGATIONS
        9.      Defendant places collection calls to Plaintiff in an attempt to collect an alleged

 debt

        10.     Plaintiffs’ alleged debt arises from transactions for personal, household, and/or

 family purposes.

        11.     Defendant places collection calls to Plaintiff at 786-342-87XX.

        12.     In or around March of 2014, Defendant placed a collection call to Plaintiff and

 left a voicemail message.

        13.     In the voicemail message, Defendant’s representative, “Rydell Dennis,” failed to

 disclose the name of the company placing the call, failed to state that the call was being placed

 by a debt collector, and failed to state that the call was being placed to collect an alleged debt.

 See Transcribed Voicemail Message attached hereto as Exhibit “A.”




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        14.     In the voicemail message, Defendant’s representative, “Rydell Dennis,” directed

 Plaintiff to return the call to 314-851-4328, which is a number that belongs to Defendant. See

 Exhibit “A.”

        15.     Defendant is using false, deceptive and misleading means in connection with

 attempting to collect a debt by not identifying the purpose of its phone calls or that they are an

 attempt to collect a debt.

                                            COUNT I
                        DEFENDANT VIOLATED THE FAIR DEBT COLLECTION
                           PRACTICES ACT, (FDCPA), 15 U.S.C. § 1692 et seq.

        16.     Defendant violated the FDCPA based on the following:

                a. Defendant violated §1692d of the FDCPA by engaging in conduct the natural

                    consequence of which is to harass, oppress, or abuse Plaintiff;

                b. Defendant violated §1692d(6) of the FDCPA by placing collection calls to

                    Plaintiff without meaningful disclosure of the caller’s identity.

                c. Defendant violated § 1692e of the FDCPA by using false, deceptive or

                    misleading representations or means in connection with the collection of the

                    debt;

                d. Defendant violated § 1692e(10) of the FDCPA by using deceptive means in

                    an attempt to collect a debt;

                e. Defendant violated § 1692e(11) of the FDCPA by failing to disclose in its

                    communications with Plaintiff that the communication was from a debt

                    collector.

        WHEREFORE, Plaintiff, RUTH MACHNAI, respectfully requests judgment be entered

 against Defendant, GC SERVICES, LP, for the following:




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          17.   Statutory damages pursuant to the Fair Debt Collection Practices Act, 15 U.S.C.

 1692k.

          18.   Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection

 Practices Act, 15 U.S.C. 1692k

          19.   Any other relief that this Honorable Court deems appropriate.


                                             RESPECTFULLY SUBMITTED,


                                               By: /s/ Shireen Hormozdi
                                                    Shireen Hormozdi
                                                    Krohn & Moss, Ltd
                                                   10474 Santa Monica Blvd., Suite 405
                                                    Los Angeles, CA 90025
                                                    Phone: (323) 988-2400 ext. 267
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                 VERIFICATION OF COMPLAINT AND CERTIFICATION

 STATE OF FLORIDA                       )
 COUNTY OF MIAMI-DADE                   )
 Plaintiff, RUTH MACHNAI, says as follows:

    1.      I am the Plaintiff in this civil proceeding.
    2.      I have read the above-entitled civil Complaint prepared by my attorneys and I believe
            that all of the facts contained in it are true, to the best of my knowledge, information
            and belief formed after reasonable inquiry.
    3.      I believe that this civil Complaint is well grounded in fact and warranted by existing
            law or by a good faith argument for the extension, modification or reversal of existing
            law.
    4.      I believe that this civil Complaint is not interposed for any improper purpose, such as
            to harass any Defendant(s), cause unnecessary delay to any Defendant(s), or create a
            needless increase in the cost of litigation to any Defendant(s), named in the
            Complaint.
    5.      I have filed this Complaint in good faith and solely for the purposes set forth in it.
    6.      Each and every exhibit I have provided to my attorneys which has been attached to
            this Complaint is a true and correct copy of the original.
    7.      Except for clearly indicated redactions made by my attorneys where appropriate, I
            have not altered, changed, modified or fabricated these exhibits, except that some of
            the attached exhibits may contain some of my own handwritten notations.

 Pursuant to 28 U.S.C. § 1746(2), I, RUTH MACHNAI, hereby declare (or certify, verify or
 state) under penalty of perjury that the foregoing is true and correct.




 Dated:_______________                                                            .
 ____________________________________                    RUTH MACHNAI
                                                         Plaintiff




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